                   Case 5:21-cv-00235-BLF Document 35 Filed 10/15/21 Page 1 of 3


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17
                                         UNITED STATES DISTRICT COURT
18
                                       NORTHERN DISTRICT OF CALIFORNIA
19

20   RACHEL MONTELONGO, et al.,                                Case No. 21-cv-00235-BLF
21                      Plaintiff,                             STIPULATED DISMISSAL WITH
                                                               PREJUDICE
22                 v.
                                                               [FED. R. CIV. P. 41(a)(1)(A)(ii)]
23   VALLEY HARVEST, LLC, et al.,
24                      Defendants.
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28                                                         1
                               STIPULATED DISMISSAL WITH PREJUDICE – FRCP 41(A)(1)(A)(II)
     67001397v.1
                   Case 5:21-cv-00235-BLF Document 35 Filed 10/15/21 Page 2 of 3




 1            TO THE CLERK OF THE COURT AND HONORABLE BETH LABSON FREEMAN:

 2            Plaintiffs Rachel Montelongo, Andrea Montelongo and Alejandra Montelong (together,

 3   “Plaintiffs”) and Defendants Valley Harvest, LLC (“Valley”) and 360 Espinosa Road II, LLC (“360”

 4   and, together with Valley, “Defendants”) (referred to collectively as the “Parties”), by and through their

 5   respective attorneys of record, hereby stipulate to the dismissal of this action with prejudice pursuant to

 6   Fed. R. Civ. P. Rule 41(a)(1)(A)(ii), which states that a “plaintiff may dismiss an action without court

 7   order by filing . . . a stipulation signed by all parties who have appeared.” Thus, a properly filed

 8   stipulated dismissal made pursuant to Rule 41(a)(1)(ii) is effective automatically and does not require

 9   judicial approval. Hester Indus., Inc. v. Tyson Foods, Inc., 160 F.3d 911, 916 (2d Cir. 1998).

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11                            STIPULATION OF DISMISSAL WITH PREJUDICE

12            Plaintiffs filed this action on January 11, 2021. On or about July 20, 2021, the Parties

13   participated in private mediation and thereafter agreed to resolve all controversies to their mutual

14   satisfaction. WHEREFORE, the Parties, through their undersigned attorneys of record, hereby stipulate

15   to dismiss the instant case, with prejudice, pursuant to Rule 41(a)(1)(A)(ii). Each Party shall bear

16   all of her or its own attorneys’ fees and costs in accordance with the terms of the agreement between

17   the Parties. The Clerk of this Court shall close the case file.

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19   IT IS SO STIPULATED.

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      Dated: October 15, 2021                                  SEBASTIAN MILLER LAW, P.C.
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23
                                                        By:     /s/ Sebastian L. Miller
24                                                              Sebastian L. Miller
                                                                Attorneys for Plaintiff
25                                                              RACHEL MONTELONGO, et al.

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                            STIPULATED DISMISSAL WITH PREJUDICE – FRCP 41(A)(1)(A)(II)
     67001397v.1
                   Case 5:21-cv-00235-BLF Document 35 Filed 10/15/21 Page 3 of 3



     DATED: October 15, 2021                                LITTLER MENDELSON
 1

 2
                                                               By: /s/ Gerardo Hernandez
 3                                                                 Gerardo Hernandez
                                                                   Attorney for Defendant
 4                                                                 Valley Harvest, LLC
 5

 6   DATED: October 15, 2021                                   JRG ATTORNEYS AT LAW
 7

 8                                                             By: /s/ Stephan A. Barber
                                                                   Stephan A. Barber
 9                                                                 Attorney for Defendant
                                                                   360 Espinosa Road II, LLC
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                                           ATTORNEY ATTESTATION
14
              I, Sebastian L. Miller, attest that concurrence in the filing of this document has been obtained from
15
     any signatories indicated by a “conformed” signature (/s/) within this e-filed document. I declare under
16
     penalty of perjury under the laws of the State of California, that the foregoing is true and correct.
17

18
      DATED: October 15, 2021                                  SEBASTIAN MILLER LAW, P.C.
19

20                                                               /s/ Sebastian L. Miller
                                                                Sebastian L. Miller
21                                                              Attorneys for Plaintiff
                                                                RACHEL MONTELONGO, et al.
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                            STIPULATED DISMISSAL WITH PREJUDICE – FRCP 41(A)(1)(A)(II)
     67001397v.1
